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10                       UNITED STATES DISTRICT COURT
11                     SOUTHERN DISTRICT OF CALIFORNIA

12 THANE CHARMAN, individually and            Case No. 3:21-CV-00302-L-KSC
   on behalf of others similarly situated,
13                                            ORDER GRANTING JOINT
                       Plaintiff,
14                                            MOTION TO DISMISS
                v.                            PLAINTIFF’S CLAIMS AGAINST
15                                            DEFENDANT RESOURCE
   NP, INC. d/b/a USMTG; and
16 RESOURCE MARKETING CORP.,                  MARKETING CORP., LLC
   LLC,                                       PURSUANT TO FED. R. CIV. P.
17                                            41(a)(1)(A)(ii)
                       Defendants.
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19
20 Defendant
   MORTGAGE
                 NP, INC., dba US
                     OF     CALIFORNIA
   (erroneously
21 dba USMTG),  sued and served as NP, Inc.

22                    Cross-Claimant,
23                v.
24 RESOURCE MARKETING CORP.,
25 LLC,
26            Cross-Defendant.

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     Case 3:21-cv-00302-L-KSC Document 46 Filed 03/01/22 PageID.231 Page 2 of 2



 1          Having considered the Joint Motion to Dismiss Plaintiff’s Claims Against
 2 Defendant Resource Marketing Corp., LLC Pursuant to Fed. R. Civ. P.
 3 41(a)(1)(A)(ii) (the “Joint Motion to Dismiss Resource Marketing”) filed by Plaintiff
 4 Thane Charman (“Plaintiff”) and Defendant Resource Marketing Corp., LLC
 5 (“RMC”), and finding good cause, the Court hereby GRANTS the Joint Motion to
 6 Dismiss Resource Marketing and ORDERS as follows:
 7          1. Plaintiff’s individual claims against Resource Marketing Corp., LLC are
 8             dismissed with prejudice and the putative class claims against Resource
 9             Marketing Corp., LLC are dismissed without prejudice;
10          2. Plaintiff and Resource Marketing Corp., LLC shall bear his/its own
11             attorneys’ fees and costs.
12          IT IS SO ORDERED.
13 Dated: March 1, 2022
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